Information to identify the case:

Debtor 1:
                      Charles Lawrence Darou                                       Social Security number or ITIN:   xxx−xx−1217
                                                                                   EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Cheryle Ann Darou                                            Social Security number or ITIN:   xxx−xx−8799
(Spouse, if filing)                                                                EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        Western District of Washington              Date case filed for chapter:         7      6/12/19

Case number:           19−41935−MJH

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                 12/2017

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                        About Debtor 2:

 1.       Debtor's full name                     Charles Lawrence Darou                                 Cheryle Ann Darou

 2.       All other names used in the aka Larry Darou
          last 8 years

 3.     Address                                  3910 NW 122nd Street                                   3910 NW 122nd Street
                                                 Vancouver, WA 98685                                    Vancouver, WA 98685

 4.     Debtor's attorney                        Mark A Carter                                          Contact phone 360−694−8955
                                                 Attorney at Law
        Name and address                         1409 Franklin Street, Suite 206                        Email: Office@MarkCarterLaw.com
                                                 PO Box 61505
                                                 Vancouver, WA 98666

 5.     Bankruptcy trustee                       Russell D. Garrett                                     Contact phone 360−567−3911
                                                 Jordan Ramis, P.C.
        Name and address                         1499 SE Tech Center Place
                                                 Suite 380
                                                 Vancouver, WA 98683

 6.      Bankruptcy clerk's office                           1717 Pacific Avenue               Hours open 8:30 am − 4:30 pm Monday − Friday
                                                             Suite 2100                        Contact phone 253−882−3900
         Documents in this case may be filed at this         Tacoma, WA 98402                  Date: 6/12/19
         address. You may inspect all records filed in
         this case at this office or online at
         www.pacer.gov.
                                                                                                                  For more information, see page 2 >



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Debtor Charles Lawrence Darou and Cheryle Ann Darou                                                                   Case number 19−41935−MJH

7. Meeting of creditors                       July 17, 2019 at 09:00 AM                                        Location:

    Debtors must attend the meeting to be     The meeting may be continued or adjourned to a           Vancouver Federal Building, 500
    questioned under oath. In a joint case,   later date. If so, the date will be on the court docket. West 12th, Second Floor,
    both spouses must attend. Creditors
    may attend, but are not required to do                                                             Vancouver, WA 98660
    so.


8. Presumption of abuse                       The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                  File by the deadline to object to discharge or to                Filing deadline: 9/16/19
                                              challenge whether certain debts are
    The bankruptcy clerk's office must        dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                                You must file a complaint:
                                              • if you assert that the debtor is not entitled to
                                                receive a discharge of any debts under any of the
                                                subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                or
                                              • if you want to have a debt excepted from discharge
                                                under 11 U.S.C § 523(a)(2), (4), or (6).
                                              You must file a motion:
                                              • if you assert that the discharge should be denied
                                                under § 727(a)(8) or (9).


                                              Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                              The law permits debtors to keep certain property as exempt. If   conclusion of the meeting of creditors
                                              you believe that the law does not authorize an exemption
                                              claimed, you may file an objection.


10. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof
                                              of claim now. If it later appears that assets are available to pay creditors, the clerk will
    Please do not file a proof of claim       send you another notice telling you that you may file a proof of claim and stating the
    unless you receive a notice to do so.     deadline.
                                              If your claim is secured by a security interest in the debtor's principal residence, see Fed.
                                              R. Bankr. P. 3002(c)(7) for claim filing deadlines.

11. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                   asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                              United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                              be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                              You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                              believe that the law does not authorize an exemption that the debtors claim, you may file
                                              an objection. The bankruptcy clerk's office must receive the objection by the deadline to
                                              object to exemptions in line 9.

Notice of Potential Dismissal
If the debtor fails to file required schedules, statements or lists within 15 days from the date the petition is filed, or object to
dismissal of the case indicating why dismissal is not appropriate, the case may be dismissed without further notice. If the
Debtor(s) fails to appear at the meeting of creditors, the U.S. Trustee may apply for an order of dismissal without further notice.
Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov OR (2) Debtors can register for DeBN
by filing local form DeBN Request Form with the Clerk of Court. Both options are FREE and allow the clerk to quickly send you
court−issued notices and orders by email.


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